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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

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In re:                                                                 Chapter 11

         Forever 21, Inc., et al.,1                                    Case No. 19-12122 (KG)

                                    Debtors.                           (Jointly Administered)
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         NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE, that the undersigned, appearing for Bloomfield Holdings,

LLC and Pyramid Management Group, LLC (collectively the "Creditors"), pursuant to Section

1109(b) of the Bankruptcy Code and Rules 2002, 9007 and 9010 of the Federal Rules of

Bankruptcy Procedure, hereby requests that all notices given to or required to be served in this

case be given and served upon the undersigned at the office, address and telephone numbers set

forth below:

                                            Kevin M. Newman
                                          BARCLAY DAMON LLP
                                          Barclay Damon Tower
                                         125 East Jefferson Street
                                        Syracuse, New York 13202
                                       Telephone: (315) 413-7115
                                        Facsimile: (315) 703-7349
                                   Email: knewman@barclaydamon.com

         PLEASE TAKE FURTHER NOTICE, that the foregoing demand includes not only the

notices and papers referred to in the Rules specified above, but also includes, without limitation,

orders and notices of any applications, motions, petitions, pleadings, complaints or demands




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Forever 21, Inc. (4795); Alameda Holdings, LLC (2379); Forever 21 International Holdings, Inc.
(4904); Forever 21 Logistics, LLC (1956); Forever 21 Real Estate Holdings, LLC (4224); Forever 21 Retail, Inc.
(7150); Innovative Brand Partners, LLC (7248); and Riley Rose, LLC (6928). The location of the Debtors’ service
address is: 3880 N. Mission Road, Los Angeles, California 90031.


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transmitted or conveyed by mail delivery, telephone, telex or otherwise, which affect the Debtors

or property of the Debtors.

         PLEASE TAKE FURTHER NOTICE, that the undersigned hereby requests that the

name and address set forth herein be added to the mailing matrix in this case.

         PLEASE TAKE FURTHER NOTICE, that the Creditors intend that neither this Notice

of Appearance, nor any former or later pleading, claim or suit shall waive (1) Creditors’ rights to

have final orders in non-core matters entered only after de novo review by a District Court

Judge, (2) Creditors’ rights to trial by jury in any proceeding so triable in this case or any case,

controversy, or proceeding related in this case, (3) Creditors’ rights to have the District Court

withdraw the reference in any matter subject to mandatory or discretionary withdrawal, (4)

Creditors’ rights to have any claims constitutionally required to be determined by the District

Court be determined therein, (5) Creditors’ rights to have any matter heard by an arbitrator, or

(6) any other rights, claims, actions, defenses, setoffs, or recoupments to which Creditors are or

may be entitled under agreements, in law or in equity, all of which rights, claims, actions,

defenses, setoffs, and recoupments Creditors expressly reserve.

Dated:       October 2, 2019                  BARCLAY DAMON LLP
             Syracuse, New York               Attorneys for Bloomfield Holdings, LLC and
                                              Pyramid Management Group, LLC

                                              By:    /s/Kevin M. Newman
                                              Kevin M. Newman
                                              Office and Post Office Address
                                              Barclay Damon Tower
                                              125 East Jefferson Street
                                              Syracuse, New York 13202
                                              Telephone:     (315) 413-7115
                                              Facsimile:     (315) 703-7349




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

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In re:                                                               Chapter 11

         Forever 21, Inc., et al.,                                   Case No. 19-12122 (KG)

                                    Debtors.                         (Jointly Administered)
-----------------------------------------------------------------

                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
COUNTY OF ONONDAGA ) ss.:
         DEBORAH S. MILLER, being duly sworn, deposes and says:

         1.  That she is in the employ of Barclay Damon LLP, attorneys for Bloomfield
Holdings, LLC and Pyramid Management Group, LLC in the above-captioned bankruptcy
proceeding.

        2.     That on the 2nd day of October, 2019, she electronically filed Notice of
Appearance and Demand for Service of Papers with the Clerk of the Bankruptcy Court for the
District of Delaware using the CM/ECF system, which sent notification of such filing to all counsel
of record.

         3.      That on the 2nd day of October, 2019, she served a copy of Notice of Appearance
and Demand for Service of Papers upon the parties set forth on the attached Service List A via
first class mail by depositing copies of same in a properly addressed, postage paid envelope in an
official depository under the exclusive care and custody of the United States Postal Service
within the State of New York.

                                                         /s/Deborah S. Miller

Sworn to before me this 2nd
day of October, 2019.

/s/Audrey A. Vrooman
Notary Public, State of New York
Qual. In Onondaga Cty No. 01VR4762616
Commission Expires July 31, 2022




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                                         Service List A


    Michael J. Barrie                                     Prime Clerk LLC
    Benesch, Friedlander, Coplan & Aronoff                One Grand Central Place
    222 Delaware Avenue, Suite 801                        60 East 42nd St, Suite 1440
    Wilmington, DE 19801                                  New York, NY 10165

    Robert B. Berner                                      Jennifer D. Raviele
    BAILEY CAVALIERI LLC                                  Michael W Reining
    1250 Kettering Tower                                  Kelley Drye & Warren LLP
    Dayton, OH 45423                                      101 Park Avenue
                                                          New York, NY 10178
    Julia Frost-Davies
    Morgan Lewis & Bockius LLP                            Matthew T. Schaeffer
    One Federal Street                                    BAILEY CAVALIERI LLC
    Boston, MA 02110-1726                                 10 West Broad Street
                                                          Suite 2100
    Jake William Gordon                                   Columbus, OH 43215
    Anup Sathy
    Jeff Michalik                                         Thomas W. Stone
    Kirkland & Ellis LLP                                  Nold Muchinsky PLLC
    300 North LaSalle Street                              10500 NE 8th Street
    Chicago, IL 60634                                     Suite 930
                                                          Bellevue, WA 98004
    Adam C. Harris
    G. Scott Leonard                                      Anne G. Wallice
    Schulte Roth & Zabel LLP                              Aparna Yenamandra
    919 Third Avenue                                      Kirkland & Ellis LLP
    New York, NY 10022                                    601 Lexington Avenue
                                                          New York, NY 10022
    Ilan Markus
    Barclay Damon LLP                                     Nahal Zarnighian
    545 Long Wharf Drive, 9th Floor                       Ballard Spahr LLP
    New Haven, CT 06511                                   2029 Century Park East
                                                          Los Angeles, CA 90067
    Mark E. McKane
    Kirkland & Ellis LLP                                  Juliet M. Sarkessian
    555 California Street                                 US Trustee’s Office
    San Francisco, CA 94104                               844 King Street, Rm 2207, Lockbox 35
                                                          Wilmington, DE 19899-0035




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